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Field

a> CO Ao én m 49 DS b= oD

Bits

115744
123184
119084
115504
107808

INKRIER
AvOuugu

110208

106688
110704
107936
108544
110544

111664

110288
113984

111360
111568
106608
108336
110928
919472
211216

87856

88368
101680
113872

tet ne

1é16U6

1349Nn0
11420

105968
108384
101376
109328
110736
109088
114160

ingagn
Aveda

110096

117880
107872
110256

142616

q1189e
1111900

916848
207712

Sequence :
Bit rate :

Y

SNR(

vd.

popple
9Nbps

dB)
Cb

vue

a?

50

98
99,

Institute : NHK

Date :

116112
114496
114800
108512

INQArA
Lvv4ace

110192

109568
110736
111616
110784
113600
107440
113424
111136
106336
LO7184
108368
920608

naalson

6UB46U

p799n
oréuov

95280
104272
114320
117776
130032
121232
113664

111856

asst

112832

111232
106944
103920
102304
108720
110960
111872
108192
107392
109072
107056
109824

aganne
eoNVVUO

211424

95296

/ /9
SNR(dB)

Y Cb Cr
$2.49 37.62 37. 87
32.52 36.86 37. 26
$2.71 37.74 38.01
32,74 37.16 9 37.45

MS-MOTO_752_0001230242
MS-MOTO_1823_00000720762
Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 2 of 17 /

SNR(AB) SNR (dB)

Field Bits YC Cr Field Bits -° Y Cb Cr
100107840 32.43: 87.17 37.78 150114304 94.3637. 7187.94
101 117040 32.72 «37.10 97.63 151 105600 «34,16 37.24 37. 48
102 125936 «=S««32.83 «37.60 38.10 - «152 t04656 «= 34.06 «97.04 37.19
103 «117440 «32,60 36.77 «37.24 153 108400 «= 34.28 37.18 37. 26
104116064 «= 32.44 36.64 37.32 154 107792 «34.34 87.1097. 28
105 115536 «= 32.25 36.29 (96. 74 155 111744 34.36 37.06 37.08
106 © 108272«S 32.05 36.04 36,55 156 113088 «34,35 36.75 36. 89
107 106400 «31.68 35.61 36.15 157 109952 «34.44 36,80 36, 83
108 109168 «= «31.72 «35.68 +36. 20 158 110992 «34.40 36,80 36.79
109 «115376 «<1. 7538.47 36.03 159 113504 34.38 36.69 «36.73
110 «110840 «= 31.68 «35.51 36. Od 160 112000 34.20 36.40 36.40
111 105440 31.36 35.08 39. 68 161 109968 34.06 36.05 36.02
112110352 31.45 35.20 35. 66 162° 106272 34.08 35.74 35. 70
113 112000 «31.45 «35.22 35.59 163 104064 «= 33.91 35.43 35.55
114 111216 31.48 35.05 35.43 164 108640 33.99 35.58 35.68
115 106800 31.34 34.92 35. 40 165 109Ti2Z 33.96 35.39 35.61
116 106240 31.36 35.08 35.44 166 111488 33.94 35.42 35.50
117 106896 31.34 35.02 35.57 167 112832 34.06 35.50 35.56
118 108568 «31.59 38.20 35.56 168 882944 «= 39.87 48.70 48.02
119 107504 «31.79 35.15 35.62 169 225535 «= 36.65 AL. 61 41. 36
120 931264 365.98 46.36 46.41 170 100848 34.73 37.18 37.34
121244720 34.26 39.91 40.13 171 «116928» 34.70 36.91 36.99
122 87888 32.19 37.17 37.38 172 117120 34.57 36.55 36.58
1239888032, 24 36.72 87.17 173 «110080 34.50 36.11 36.23
i24 107728 32.36 36.94 37.32 174 110904 34.29 «35.55 = 38. 68
125 119392 «92.45 96.77 «37. 24 175 118192 34.3535, 74 35.89
126 124048 $2.31 36.64 37.19 176 110240 34.18 35.34 35.43
127 121680 «32,23 36.45 36.93 177114048 34.00 35.01 35.19
128 «118384 = 32.20 36.25 «36. 74 178 118864 «= 33.80 34.78 «34. 84
129 111936 $2.10 36.03 36.56 179 114160 33.64 94.32 34.45
130 106768 »=— 31.93 35.55 36.31 «=, 180113136 «= 3.35 93.90 33.97
131° 104672 «91.78 «95.25 35.92 181 108952, 33.15 93.54 33.72
132 102304 931.68 95.28 35.97 182 102224. «32.92 38.30 33. 54
133 102976 «34.61 95,05 35. 80 183 108384 32.75 «33.19 33.28
134 101040 31.84 35.16 35.84 184111920 32.66 32.98 33.10
135 106320 «31.98 += 35.27 35.93 185 109008. «= 32.52 32.55 32.80
136 103184 82.25 35.30 35.97 186 111088 32.52 32.57 32.86
137 108096.» 32.39 35.84 36. 20 187 = 107840. = 32.12 32.27 32.52
138 116272 32.59 35.78 36.37 188 110432 31.84 32.21 32.44
139 117712 32.77 35.94 36.46 189 114272 31.81 32.20 32.37
140 417136 32.89 36.02 36.50 190 116288 31.53 31.54 31.98
14t 110192, 33.02 35.92 © 36.45 191 «113584 BN.52 8.72 BE. Bk
142 108704 33.05 35.91 36.33 192 883104 38.48 47.48 47.76
143 110656 33.07 95.386 36.37 193 253152 35.05 38.56 38.59
144 907952 37.71 47.30 9 47.31 194 83680 31.64 32.75 32.96
145 191072 35.90 41.14 41.25 195 104640 31.23 32.01 32.14
146 102736 «= 34.40 98.50 38.78 196. 102480 31.02 «31.74 31.96
147 119408 84.54 38.55 38.83 197 107424 31.28 32.02 © 32.25
148 118928 34.58 38.39 . 38.66 198 108768 31.41 32.18 32.55
149 119456 = 34.56 = 38.09 = 38. 41 199 111856 31.14 32.06 32.28

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MS-MOTO_1823_00000720763
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Field

Bits

101568
112496

11664
ELLVUGS

£06000

106784
(12304
114624
120352
119360
880080

232960
1NOG44

avud

113104
103840
105488
105168

t19190Kn

Visio
115104
117824
112688
106736
105424
109808
117472
116864
103040

101696

99888
108320
117600
122016
114944
836896

2Q2904A

2uLe4t

115840
109792
110736
108512

119989
11£906

109728
111680

Y

SNR (dB)

ve. uu

52

Field

Bits

104752
108064
111072
112704
113920

11923992

AL9008

110624
109392
117136
105120

£20400

89216
106720
106672
116144
118560
113472
109600

+9e00

112688

TIFT
adbaey

108976
110560
103600
104912
111184
106640
109824

199609

sddvvse

121488
110112
106672
108240
105760
888416
239056

96624
108880
108592
105488
121712
4119152

119999
116006

112160

110096
104656

SNR (dB)
Y Cb Cr

ae. Oe ay. Vo 90-3. 4G

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MS-MOTO_1823_00000720764
Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 4 of 17

Sequence : football Institute : NHK
Bit rate : 4Mbps Date: / /91
SNR (dB) SNR (dB)

Field Bits Y Cb Cr Field Bits Y Cb co
0 423504 97.27 42.91 43.85 50 39136 30.51 36.27 38.32
1 67728 93.54 39.75 40.82 51 A288 29.81 35.60 37.66
2 54224 $2.70 38.47 39.72 §2 45312 29.78 35.15 37.42
3 73200 33.10 38.25 39.40 53 46672 29.60 34.95 37.02
4 82496 32.69 37.98 39.07 §4 48976 29.87 34.78 36 63
5 73104 32.70 987.80 38.87 §5 47136 29.42 34.50 36.32
6 71936 32.34 37.40 38.67 56 45056 29.37 34.34 36.16
7 64064 31.67 36.81 38.17 57 45856 29.40 34.33 36.06
8 55712 31.27 36.30 37.74 58 43344 29.48 94.38 36.12
§ 49936 30.89 35.76 37. 30 59 43248 29.52 34.89 36.12
19 45104 30.38 35.38 37.10 60 43088 29.56 34.82 36.02
il 44400 30.04 35.20 36.87 61 44176 29.40 34.40 36.08
12 42160 29.93 35,08 36.87 62 43024 29.60 34.35 96.05
13 41856 29.68 34.73 36.64 63 44368 29.49 34.23 36.06
14 40016 29.01 34.25 36.05 64 44064 29.60 34.21 — 35. 90
15 38800 28.81 34.02 35.75 65 47104 29.70 34.27 35.91
16 38272 28.81 33.76 35. 68 66 48448 29.61 34.26 35.89
17 38384 28.68 33.61 35.68 67 46896 29.87 34.21 35.92
18 39184 28.24 33.46 35.70 68 46656 29.72 34.09 35.81
19 37312 28.23 33.26 95.56 69 43872 29.86 33.95 35.79
20 36608 28.23 33.22 35.47 70 44816 29.60 33.85 35. 72
2} 38608 28.27 33.32 = 35.39 71 43440 29.68 33.80 35.72
22 38256 28.37 33.35 35, 46 12 495056 35.76 41.51 42.10
23 38144 28.28 33.37 35.48 73 87352 33.53: 39.02 40.08
24 $06800 36.76 42.42 43.12 74 37600 31.64 37.68 39.26
25 92800 33.35 38.86 40.09 16 45728 31.11 36.89 38.61
26 34544 29.97 36.40 38.33 76 48080 31.50 36.57 38.41
27 39008 29.64 35.39 37.66 71 50432 31.03 36.08 37.84
28 39664 29.53 34.89 37. 42 78 52080 31.11 35.81 = 37.78
29 41760 29.56 34.62 36.92 79 55504 30.88 35.66 37.36
30 43483 29.79 34.48 36.69 80 $3872 30.40 35.40 37.08
31 46096 29.85 34.46 36.44 81 48224 30.76 35.32 37.05
32 48192 29.87 34.44 96.46 82 48208 38.33 35.18 365.88
33 49824 30.09 34.40 36.16 83 44992 30.31 38.05 36.73
34 53840 29.93 34.28 35.92 B4 42832 29.98 34.87 36.48
3§ 54960 30.21 34.31 35.91 85 43712 29.65 34,69 36.43
36 56400 29.91 34.21 35.78 86 41648 29.71 34.53 36.33
37 54016 30.06 34.26 35.77 87 40832 29.78 34.47 36.31
38 50400 29.74 34,09 35.83 8 41344 29.50 34.24 36.15
39 47728 29.70 33.99 35.72 89 42480 29.77 34.36 36.07
40 49056 29.45 33.95 35.53 90 43120 29.35 34.07 35.84
4l 46944 29.37 33.78 35.40 Qi 44304 29.54 34.10 35.75
42 46720 29.11 33.62 35.33 92 46832 29.27 34.01 35.57
43 44176 29.11 33.60 35, 34 93 46096 29.43 34.11 35.63
44 44832 28.95 33.56 35. 37 94 44848 29.26 33.94 35.44
45 45568 28.86 33.40 35.19 95 43952 29.43 33.84 35.35
46 45648 28.56 33.12 34.53 96 454208 35.63 41.24 41. 86
4] 43008 28.48 32.88 34.86 97 95136 33.83 38.67 39.84
48 484576 36.92 41.51 42.22 98 43536 30.55 36.69 38. 40
49 95136 39.12 38.48 39.83 99 45424 30.74 36.11 37.83

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Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 5 of 17

SNR (dB) SNR (dB)

Field Bits Y Cb Cr Field Bits - YY Cb Cr
100 45856 30.08 35.69 37.29 150 50240 39.4) 35.49 37.47
101 45680 30.33 $5.48 37.02 1h 48096 30.34 38.22 37.26
102 45424 30.00 35.05 36.75 152 49056 30.19 35.04 96.98
103 45328 29.89 34.92 96.64 153 47360 30.18 34.87 96.79
104 47200 29.57 34.68 36.38 184 44832 29.87 34.49 36.43
105 45696 30.03 34.70 36.28 155 45296 29.60 34.36 36.34
106 49632 29.77 34.6] 46.04 156 44880 29.51 34.03 36.11
107 47840 29.85 34.57 36.05 157 43600 29.36 33.91 35.97
108 45968 29.83 34.49 35.98 158 44384 29.24 33.81 35.77
109 AT456 29.99 34.41 35.93 139 49152 29.21 33.70 35.67
110 46624 29.49 34.21 35.77 160 47280 29.15 33.56 935.44
li 42768 29.56 34.05 35.75 161 44448 28.99 933.46 35.21
112 43888 29.09 33.89 38.37 162 44400 28.84 33.33 35.13
113 43680 29.31 33.78 35.32 163 44000 28.66 33.16 34.93
114 44656 29.06 33.69 35.17 164 43344 28.49 32.95 34.81
115 416596 29.32 93.62 35.11 165 43584 28.43 92.83 34.72
116 41168 29.10 33.57 36.11 166 45072 28.46 32.80 94.60
117 42608 29.50 933.67 35.27 167 43856 28.41 32.80 94.52
118 AATB4A 29.31 33.63 35.21 168 494720 35.14 40.85 41.63
119 AA944 29.67 33.75 35.30 169 101552 33.53 38.31 39.78
120 503152 95.33 41.09 41.85 170 36800 30.41 36.64 98.57
121 95552 33.43 38.56 39.77 171 40672 29.75 35.91 37.84
122 39184 30.80 37.28 38.85 112 41776 29.51 35.32 37.31
123 41424 30.93 36.88 38.34 173 44000 29.41 34.90 96.97
i24 44544 30.71 36.47 37.912 174 47552 29.37 34.69 26.60
125 47376 30.89 36.19 37.63 175 46592 29.41 34.46 36.34
126 50512 30.75 35.94 37.40 176 49440 29.45 34.32 36.10
127 48464 30.69 35.69 37.16 117 47408 29.30 34.21 36.02
128 51200 30.52 35.52 36.99 178 41024 29.24 34.15 35.84
129 49232 30.62 35.33 36.97 179 47056 29.27 34.14 35.84
130 50112 90.37 35.12 36.82 * 180 48016 29.27 $4.10 35.71
131 45760 30.44 35.05 36.74 181 46576 29.24 34.05 35.70
132 43264 90.08 34.83 36.48 182 46640 29.25 33.84 35. 54
133 42272 $0.04 34.71 36. 34 183 45232 29.22 33.84 35.57
134 42720 29.74 34.49 36.09 184 46032 29.33 33.78 35.47
135 44848 29.87 34.47 35.99 185 43840 29.30 33.72 35.37
136 44816 29.56 34.32 35.85 186 44880 29.40 33.64 35.30
137 42880 29.72 34.33 35.91 187 43104 29.35 33.60 35.22
138 42912 29.61 94.20 35.76 188 45712 29.34 33.52 935.07
133 44576 29.66 94.10 35.17 189 45088 29.29 33.53 35.03
140 43136 29.63 33.96 35.71 190 48288 29.20 33.47 34.93
141 43904 29.46 33.91 36.64 191 46800 29.17 33.51 34.84
142 44496 29.60 33.87 35.60 192 479600 35.10 40.89 41.49
143 46240 29.71 34.03 35.60 193 101152 34.19 38.97 39.91
144 499824 35.40 41.23 41.94 194 39888 30.88 37.33 38.72
145 90896 33.74 38.88 40.20 195 46448 30.55 36.50 38.00
146 39824 91.15 37.94 939.25 196 50192 30.16 35.97 37.34
{47 47024 30.94 36.79 38.67 197’ 48368 29.97 35.70 37.00
148 49600 30.92 36.25 38.22 198 48720 29.74 35.29 36.56
149 49184 30.66 35.88 37.81 199 §1296 29.66 $35.14 36.25

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MS-MOTO_1823_00000720766
Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 6 of 17

SNR (dB) SNR (dB)

Field Bits Yb Cr Field Bits Y Cb Cr
200 «48G72«— «29. 7484.93) 38.99 250 44960 28.23 32.64 34.08
901 «44848 = 29.41 34.72 «95.84 951 44992 28.10 32.54 33.91
202 44192-2936 | 84. 51 95.67 952 44032 28.00 32.31 33.78
203 «42896 «= 29.17 34.42 35.63 253 «43888.-=Ss«27.81 «32.11 33.65
204 «44208 «= 29.20 34.27 «35.51 25443872, 27.70 31.90 33.46
205 «42960 «29.07 34.19 95. 32 955 42992 27.50 31,83 33. 28
206 «= 44736 «= 29.16 34.03 © 35.06 256 «© 41696 «= 27.24 «34.53 33. tA
207 «44592 «29.05 © 33,99 34.95 257 40368. «= 27.20 34.45 33. 22
208 «44960 «= 29.08 33.88 34.93 258 39824 ~- 27.08 31.35 33.05
209 «45616 «= 29.07 33.77 34.83 959 39728 «= 27. 1d 31.24 32.93
210 44578 «= 29.04 «33.70 34.78 260 40176 «= 27.06 «31.20 32.77
211 «43728 «= 29.03 33.66 = 34.71 261 3843227. 13 31.20 32.72
212 43264 «29.10 33.57 34.68 262 38912 «27.26 31.30 32.87
213 44880 «= 29.06 33.57 34.70 263 © 40096. «= 27.50 31.4 33.03
214 46480 «29.08 93.43 34.78 264 17920 34.59 40.20 40. 8A
215 44064 «= 28.95 33.38 34.61 265 113200 © 38.18 87.60 38.60
216 490240 «= 34.81 40.56 AL 12 266 © «31584 «29.27 35.78 37. 10
217 117296 «= 33.82 «38.45 39, 24 267 36016 «= 29.07 35.01 36.37
218 35568 «31.02 36.70 38.00 268 «36864. «= 28.77 34.42 36.05
219 42128 «30.46 35.79 37.20 269 «38624 «28.84 34. 1335.82
220 46480 30.14 35.31 36.72 270 «38560 «28.95 33.82 35.56
221 47056 «= 30.11 34.85 36. 34 211 40848.«Ss 29.25 «33.68 © 35. 41
222 46784 «= «29.98 94.56 36.09 212 43344—29.46 33.64 35. 36
223 «47312.« 29.79 94.31 85.73 213 «48736 «= 29.83 33.66 «35.27
224 46032 «29.77 «34.09 35.68 214 «55200 30.19 33,73 «38. 20
225 46384 «=«-29.64 33.89 35.38 275 $4640 «= 30.37 33.86 35.19
226 45328 «29.60 33.73 35.22 276 =«57120 «30.51 39.82 «35.17
227 45216 «= «29.39 33.70 35.08 277 «=—«453872=S 30.62 «33.87 35. 16
228 © 4S792.«S«s«29.30 33.59 34. 94 278 «= $4384. «= 30.54 33.74 35.00
229 © 45232,«S«29.36 «33.59 34. 90 279 = $0960 «30.49 33.56 34.84
230 © 44400-2924 «33.39 34.68 280 «48704. «30.09 33.33 34.63
231 45344 «= 29,28 33.29 34.58 281 «45232 29.69 93.18 34.45
232 46192, 29.18 38.14 34. 4d 282 «44272, 29.32 32.98 94.27
933 44192 «28.07 33.06 34.41 283 «8400» 29.12 32.93 34.21
234 © 43600 © 28.97 32.94 34.35 284 = 41616 «= 28.93 32,79 «34.12
235 © 4d560=— «29. 1132.98 34. 42 285 «= 44272 28.66 «92.87 33.96
236 © «45312 «28,98 32.87 34.30 286 «= 45104. «28.64 «32.51 33.81
237 «46256 «= 28.94 32.84 34. 26 287 «= 43984. 28.88 32.51 33.72
238 «= 45520 «= 28.83 32.73 34. 1A 288 «= 4B4B64 = 33.90 39.57 40.20
239 45168 «= 28.86 32.72 34.06 289 104880» 32.88 37.30 38.29
240 481696 34.64 40.24 40.79 290 «35136 «= 30.68 36.18 + 37.57
241 127008 = 38.67 «37.84 38.75 291 41408" «30. 4535.53 38.87
242 37808 + © 30.61 36.10 37.59 292 «47936. «= 30.12 35.18 36. 39
243 «42944 «29.92 95.21 36.63 293 © 48336 «30.28 «34.89 36.07
244 44368 «= 29.49 34.61 36.08 294 = 47920» 29.97 34.62 35.83
245 45856 «= 29.20 34.16 35.51 295 «47696 ©=— 29.89 34.36 35. 56
245 © 49072 «29.09 33.77 35.08 296 «© 48352 29.71 34.08 35.41
247 = 48624. «28.70 «93.27 34.72 297 49104 29.48 33.84 35. 22
248 48528 28.44 33.02 34.39 298 50096 29.61 33.65 35.06
249 «45344 «28.31 92.80 34. 24 299 «47696 «= 29.31 33.52 34.93

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MS-MOTO_1823_00000720767
. Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 7 of 17

Annex IT

Cumulative bit count once every 0.4 second
Institute : NHK
Date: / /91
Sequence : flower garden Sequence : table tennis
Bit rate : 4Mbps Bit rate : 4Mbps
GOP Ho. BITS ~ GOP No. BITS
1 1601296 1 1594304
2 1572304 2 1597584
3 1630624 3 1562400
4 1552432 4 1607072
5 1585424 5 1570896 '
6 1627648 6 1625824
1 1574576 1 1565712
8 1567440 A 1594992
9 1§92704 § 1398032 .
10 1583872 10 1783296
1 1603488 il 1576864
12 1578944 . 12 1606960
AVE 1589229(3. 973 Mbps) AYE 159032843. 976 Mbps)

Sequence : mobile & calendar Sequence : football

Bit rate : 4Mbps Bit rate : 4Mbps
GOP No. BITS GOP No. BITS -
1 1574960 I 1573008
2 1605296 2 1625472
3 1587744 3 1570688
4 1591984 4 4589728
3 1592848 § 1581200
6 1592592 6 "1592576
7 1588512 1 1595232
8 1591728 8 1594800
g 1583808 9 1580336
10 1595520 10 {597392
ll 1985312 il 1555216

12 1611728 l2 1623456

AYE. 15918363. 980 Mbps) AVE 1589925 (3.975 Mbps)

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MS-MOTO_1823_00000720768
Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 8 of 17

Sequence : flower garden Sequence : table tennis
Bit rate : 9Mbps Bit rate : 9Mbps
GOP No. BITS GOP No. BITS
1 3601584 1 3530448
2 3493600 2 3559296
3 3514400 3 3513664
4 3559192 4 3539712
9 3537008 5 3539424
6 3537168 6 3520464
1 3564112 1 3556400
8 3507776 8 3540944
9 3554336 9 3539248
10 3523360 10. 3542016
ll 3560720 11 3530080
12 3538832 12 3537520
AVE 3541004 (8. 653 Mbps) AYE 3537434 (8. 844 Mbps)

Sequence : popple Sequence : mobile & calendar
Bit rate : 9Mbps Bit rate : 9Mbps
GOP No BITS GOP No. BITS
1 3538768 1 3517456
2 3542848 2 3549944
3 3535680 : 3 3551456
4 3533120 4 3541376
5 3535840 § 3531840
6 3551952 6 3545648
1 3534560 1 3521664
8 3569392 8 3559648
9 3543360 Q 3538112
10 3526416 10 3532992
il 3536784 il 3546704
12 3542848 12 3526192

AVE 3540130 (8. 850 Mbps) AYE 3538536 (8. 846 Mbps)

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MS-MOTO_752_0001230249
MS-MOTO_1823_00000720769
Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 9 of 17

Annex I1iL

Other statistics , .

Sequence : flower garden Institute : NHK
Bit rate : 4Mbps Date: / /91
ALL Intra Pl ~ P2
MSE
Y 134. 73 56. 20 148. §2 137. 80
Cb 42,39 14.57 29.04 44,34
Cr 32. 10 13. 80 24. 40 33. 34
RMS
Y 11.61 7. 50 12.19 11.74
Cb 6.51 3.82. §. 39 6. 66
Cr 5. 67 3. 12 4.94 §. 77
SNR
y 26. 84 30. 63 26. 41 26. 74
Cb 31. 86 36. 50 33. 50 31. 66
Cr 33.07 36. 73 34, 26 32. 90
QP 28. 41 8. 35 33. 85 29. 10
sc - 4.05 14. 90 4. 64 $. 50
ZC 8. 33 11. 60 7.19 8.23
NZB 1252.96 5279.92 1253.31 1061.88
Macroblock type
Intra 69.25 1320.00 19.85 12. 25
Interfield 6, 81 0. 00 8. 38 1.05
MC Interfield 413.24 0.00 1291.77 391.16
Interframe 6. 73 0.06 6.66 1.37
MC interframe 823. $7 0.00 0.00 902. 18
Number of bits
MBT 2575. 06 0.00 2656.77 2693. 36
NCY 8909. 75 0.00 8486.00 9352.58
EOB 11017.60 21120.00 10560.00 10560. 00
Y 34008. 02 327617.08 32138.92 20166. 34
Cb 5138.23 97708. 00 586. 62 962. 19
Cr 4300.69 91792. 00 346.00 337, 27
OVH+STUFF 1235.87 1236.15 1228.15 1236.2
TOTAL 67185. 23 539473. 23 5600246 45907. 97

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ZC : Mean value of the number of coded zero coefficients
NZB : Mean value of the number of nonzero blocks

MBT : Macroblock types

MCY : Moton vectors

EOB : End of block

OVH+STUFF : Headers and stuffing bits

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MS-MOTO_752_0001230250
MS-MOTO_1823_00000720770
Case 2:10-cv-01823-JLR

Sequence flower garden Institute : NHK
Bit rate : 9Mbps Date: / /91
ALL Intra Pl P2
MSE enoan an 10 a0 90 £9 9
Y 02.11 ou. Lo 38. 75 93.8
Cb 24. 93 1.21 17, 41 26.13
Cr 24. 30 7.15 17. 43 26.4
RMS
Y 22 9. 49 6. 23 1. 34
Cb 4.99 2. 10 4.17 5.11
Cr 4,93 2.67 4.18 §. 04
SNR
Y 30. 96 33.34 32. 24 30. 82
Cb 34, 16 39. §1 35. 72 33. 96
Cr 34, 27 39. 59 35. 72 34, 08
QP 12.04 3.87 9.14 12. 56
SC 7,12 23. 84 42. 33 6. 74
zC 13.17 15. 23 12. 88 13.09
NZB 2408.54 5280.00 2716.46 2257.69
Macroblock type
Intra 66.45 1320.00 1. 46 9. 39
Interfield 5. 81 0. 00 6.69 6. 04
MC Interfield 364.01 0.00 1297.85 336. 98
Interframe 5. 58 0, 00 0.00 7.2
MC Interframe 877.15 0. 00 0.00 960. 3
Number of bits
MBT 2567. 93 0.00 2653.38 2685. 27
WCY 8701. 32 0.00 8337.08 9131. 44
EOB 1i017.60 21120.00 10560.00 10560. 00
Y 100055.05 511986. 15 182668.15 76591. 28
Cb 14269. 34 186567.85 9661.69 63138. 20
Cr 11205.37 188667. $4 7467.54 2962.97
OVE+STUFF 1235.47 1225.23 1245.38 1235.49
TOTAL 149051. 68 909566. 77 222593. 23 109479. 6
QP : Mean value of quantization parameter
SC: Mean value of the number of coded nonzero coefficients
“2C :-Mean value of the number of coded zero coefficients
NZB : Mean value of the number of nonzero blocks
MBT : Macroblock types
MCY : Moton vectors
EOB : End of block

OVH+STUFF : Headers and stuffing bits

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MS-MOTO_752_0001230251
MS-MOTO_1823_00000720771
Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 11 of 17

Sequence : mobile & calendar Institute : NHK
Bit rate : 4Mbps Date: / /91
ALL Intra Pi P2

MSE

Y 189. 61 153. 97 138. 04 193. 75

Cb 41.00 20. 19 31.04 42. 46

Cr $8. 49 17. 14 26. 60 40.07
RMS

Y 13.77 12. 41 11.75 13.92

Cb 6, 40 4. 49 5.57 6.52

Cr 6. 20 4. 14 §. 16 6. 33
SHR

Y 25.35 26.26 ~ 26.73 25. 26

Cb 32. 00 35. 08 33. 21 31. 85

Cr 32. 28 35. 79 33. 88 32. 10
oP 26. 11 12. 73 18. 61 27. i6
sc 4.53 12. 92 8.06 3.97
2 {7.07 10. 18 17. 81 17.37
NZB 1245.37 5259.38 2350.08 1002.51

Macroblock type
Intra 79.29 1320.00 35. 00 22. 52
Interfield 11. 03 0. . ,
NC Interfield 268. 22 0.00 1272.69 233. 29
Interframe $. 86 6

0

MC Interframe 951. 60

Nunber of bits

NBT 2608. 53 0.00 2664.62 2729.63
MCV $329. 57 0.00 6264.46 5538.07
E0B 11017.60 21120.00 10560.00 10560. 00
Y 37703. 53 279558. 77 107989. 69 22893. 90
Cb 4367.50 80663.38 2306.00 845.43
tr 4827.97 81421.85 2583.38 1300. 45
OVH+STUPF 1231.55 $232.31 1236.77 1234.26
TOTAL 67086. 24 463996. 32 133604.92 45098. 74

OP : Mean value of quantization parameter

SC: Mean vaiue of the number of coded nonzero coefficients
7C : Mean value of the number of coded zero coefficients
NZB : Mean value of the number of nonzero blocks

MBT : Macroblock types

MCY : Moton vectors

EQOB : End of block

OVH+STUFF 4 Headers and stuffing bits

60.

MS-MOTO_752_0001230252
MS-MOTO_1823_00000720772
Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 12 of 17°.

Sequence : mobile & calendar Institute : NHK
Bit rate : 9Mbps Date: / /91
ALL Intra Pi P2
MSE
Y 87. 58 70. 82 72. 92 89.07
Cb 25. 49 7.99 20. 73 27. 64
Cr 23. 37 6.65 16.85 24, AT
RNS
Y 9. 36 8. 42 04 9, 44
Cb 5.15 2. 83 4.55 5. 26
Cr 4.83 2. 58 4.i1 4.95
SNR
y 28. TL 29. 63 29.50 28. 63
Cb $0 39. 10 34, 96 33. 72
Cr 34. 44 49. 90 35. 86 34. 24
QP 12. 46 4.79 10. 63 12. 91
s¢ 8. 30 23. 41 12. i4 7. 40
ze 22. 42 14.92 18. 51 22. 96
NZB 223).44 5277.69 3005.38 2050. 19
Macroblock type
Intra 72.75 1320.00 17. 46 16. 20
Interfield - 1.2 0. 00 10. 38 7. 40
MC Interfield 223.63 0.00 1292.15 183. 54
interframe 8.52 0. 06 0. 06 §, 33
MC interframe 1007.89 0. 00 0.00 1103. $3

Number of bits

MBT 2986. 65 0.00 2660.77 2705. 86
MCV 5076. 67 0.00 6157.69 5266. 25
FOB 11017.60 21120.00 10560.00 10560. 00
Y 104671.60 499649. 23 20130262 81347. 10
Cb 11886.09 183885.38 8355.69 3893.04
Cr 12462.96 175637.69 8057.23 4930. 12
OVH+STUFF 1235.39 1226.46 1238.31 1235.67
TOTAL 148936. 96 881518. 77 238332. 31 109938. 04

QP : Mean value of quantization parameter

SC: Mean value of the number of coded nonzero coefficients
ZC: Mean value of the number of coded zero coefficients
NZB : Mean value of the number of nonzero blocks

MBT : Macroblock types

MCY : Moton vectors

EOB : End of block

OVH+STUFF : Headers and stuffing bits

MS-MOTO_752_0001230253
MS-MOTO_1823_00000720773
Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 13 of 17

Sequence : table
Bit rate : 4Mbps

MSE

Nacroblock type
Intra
Interfield
MC Interfield
Interframe
NC interframe

Number of bits
MBT
MCY

QP : Mean value
SC: Mean value
ZC: Mean value
NZB : Mean value

MBT . Macroblock

tennis Institute : NHK
Date: / /9k

ALL Intra Pl P2
90. 36 65. 05 15. 54 $9. 49
8.17 3.75 6. 48 8. 46

8. 33 2.79 5. 18 8.74
9.85 8.07 8. 69 9.97

2. 86 1. 94 2. 55 2.91
2.89 1. 67 2. 28 2. 96

28. 26 30. 00 29. 35 28.15
39.01 42. 40.01 38. 85

38. 92 43. 67 40. 99 38.71
21.18 5.07 11. 16 23.07

4, 98 13. 51 9. 60 4. 36
17.74 13. 04 20. 43 17. 83
997.86 5279.38 1624.15 765. 00
90.33 1320.00 36. 31 34.55
26. 72 00 27. 62 27. 94
465. 32 0.00 1256.08 449. 88
313. 99 0. 06 0. 06 343. 78
423, 64 0.00 0.00 463, 84
3270. 13 0.00 2695.23 3452. 56
6725. 31 0.00 9046.77 6934. 26
11017. 60 21120.00 10560.00 10560. 00
36702. 91 323231.69 90210.77 20568. 79
3963.57 68064.00 2837.69 975. 73
4217.85 66265.23 3196.77 1822. 44
1233.39 1239.08 1218.92 1233.81
67130. 77 479920. 00 119766.15 45048. 58

of quantization parameter

of the number of coded nonzero coefficients
of the number of coded zero coefficients

of the number of nonzero blocks

types
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MCY : Moton vectors
EOB : End of block
OVH+STUFF : Headers and stuffing bits

MS-MOTO_752_0001230254
MS-MOTO_1823_00000720774
Case 2:10-cv-01823-JLR

Sequence : table tennis
Bit rate : 9Mbps Date :
ALL Intra Pl
MSE .
Y 50. 49 37.31 50. 02
Cb 5.75 1.91 §.16
Cr 4.16 1.37 3. 84
RMS ,
“ Y¥ TAL 6. 11 7.07
Cb z. 40 1. 38 2.27
Cr 2.18 1.17 1.96
SNR
Y 31. 10 32. 41 31. 14
Cb 40. 54 45. 32 41.01
Cr 41.35 46. 76 42. 28
QP 7.59 2.13 6. 74
5C 8. 69 24. 61 12. 63
ZC 29, 22 18.39 22. 46
NZB 2110.51 $280.00 2542.54
Macroblock type
Intra 81.32 1320.00 47. 38
Interfield | 14. 82 0.00 17.85
MC Interfield 430.95 0.00 1254.77
Interframe 376. 8$ 0.8 0.00
MC Interframe 416.03 0.00 9.00
Number of bits
MBT 3353. 13 0.00 2675.69
MCY 6130. 46 0.00 8809.23
EOB 1i017.60 21120.00 {0560.00
Y 106483. 61 563978. 46 182189. 85
Cb 10088. 58 160772.77 8899. 38
Cr 10570.03 146641.$4 9153.38
OVH+STUFF 1232.58 1239.85 1222.62
TOTAL 148876. 00 893752. 62 223510.
QP : Mean value of quantization parameter
SC: Mean value of the number of coded nonzero coefficients
ZC =: Mean value of the number of coded zero cocfficients
NZB : Mean value of the number of nonzero blocks
MBT : Macroblock types
MCY : Moton vectors
EOB : End of block

Institute : NHK

OVH+STUFF : Headers and stuffing bits

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4181. 30

1232. 71

15 109994. 10

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MS-MOTO_752_0001230255
MS-MOTO_1823_00000720775
Case 2:10-cv-01823-JLR Document 173-8 Filed 02/03/12 Page 15 of 17.

Sequence : popple Institute : NHK
Bit rate : 9Mbps Date: / /91
ALL Intra PL P2

_ MSE
Y 45, 58 14. $2 25. §7 48. 00
Cb 29, 39 1.80 9. 48 31. 66
Cr 27. 68 1. 40 9.07 29. 81

RNS
Yy 6.75 3.81 5.06 6. 93
Cb 5. 42 1.23 3.08 5. 63
Cr 5. 26 1.18 3.01 5. 46

SNR
Y 31. 54 36. 51 34.05 31. 32
Cb 33. 45 46. 36 38. 36 33.183
Cr 33. 71 46, 66 38. 55 33. 39
QP 15. 04 1. 82 8. 20 17.09
3c 6. 37 23. 18 §.02 5.45
2¢ 9.34 20. 98 10.15 8.75
NZB 2559.57 5280.00 3406.85 2390.30

Macroblock type
Intra 320.78 1320.00 377. 23 270. 69

Interfield 6. 64 0. 00 7.00 6. 94
MC Interfield 601.85 0.00 935.77 614. 56
Interframe 38. 02 6.66 0. 08 41. 63
NC Interframe 352.72 0.00 0.00 386.19

NBT 3109, 38 0.00 2654.00 3278. 51
NCY 11097. 35 0.00 9312.46 11708. 55
BOB 11017.60 21120.00 10560.00 10560. 00
Y 66308. 11 459597. 54 118567. 54 45168. 93
Cb 29875. 99 209865. 23 42505. 23 20737. 15
Cr 26378.62 210593. 69 35857,69 17188. 75
OVH+STUFF 1230.39 1228.46 1226.15 1230. 69
TOTAL 149017. 44 902404. 92 220683. 08 109872. 58

QP : Mean value of quantization parameter

SC: Mean value of the number of coded nonzero coefficients
ZC: Mean value of the number of coded zero coefficients
NZB : Mean value of the number of nonzero blocks

MBT : Macroblock types

MCY : Moton vectors

EOB : End of block

OVH+STUFF : Headers and stuffing bits

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MS-MOTO_752_0001230256
MS-MOTO_1823_00000720776
Case 2:10-cv-01823-JLR

Sequence : football In
Bit rate : 4Mbps Da
ALL Intra
NSE
y 68. 85 Wi 28
Cb 23. 53 5.15 9
Cr 16. 38 4. 42 1
RMS
y &. 30 4, 37 9.
Cb 4.85 2.27 3.
Cr 4.05 2.10 2.
SNR
Y 29. 75 39. 32 33
Cb 34. 41 41.01 38
Cr 35. 99 41.67 39
QP 24.35 5. 55 10.
sc 4, §8 13, 85 8.
2c 7.92 LL. 44 9.
NZB 1178.40 5279.69 1985
Macroblock type
Intra 80.77 1320. 00 17
Interfield 56. 11 0.00 79
MC Interfield 702.44 0.00 1223
Interframe 95. 34 0. 00 0
MC Interframe 385.34 0. 00 0
Number of bits
MBT 2874. 16 0.00 2798.
MCV 8793. 27 0.00 8545
E0B i10i7.00 21120.00 16566
Y 33805.02 304719.54 70874
Cb 5407.07 87797.69 3593
Cr 3974.73 74062.31 1648
OVH+STUFF 1236.58 1235.85 1232.
TOTAL 67108. 43 488935.38 99252
QP : Nean value of quantization parameter
SC : Mean value of the number of coded nonzero coe
ZC: Mean value of the number of coded zero coefficients
NZB : Mean value of the number of nonzero blocks
MBT : Macroblock types
MCV : Moton vectors
EOB : End of block
OVH+STUFF : Headers and stuffing bits

stitute : NHK
te: / /9l
Pl P2
92 73.11
.25 25. 08
AT 17. 39
38 8.55
04 5. OL
68 4.17
52 29. 49
4] 34.14
54 35.73
84 25. 88
§§ 4.97
33 7.68
92 940.03
00 25. 00
15 57. 68
85 711. 03
00 104. 38
00 421. 9f
31 3014.12
08 9222.24
00 10560. 00
.15 19192. 66
-94 1584.07
. 92 759.75
92 1236.79
.92 45569. 64

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MS-MOTO_1823_00000720777
Case 2:10-cv-01823-JLR Document 173-8

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ERED STRUCTURE OF VIDEO DATA

saad

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. MODES AND MODE SELECTION

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9.

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. QUANTIZATION

. CODING

1
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B-Code

Macroblock Type

Motion Vector
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10.

10
10.
10.
10.

1

.2
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4
5

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Sequence Layer |
Group of Picture Layer

Slice Layer

Macroblock Layer
Block Layer

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1 Buffer

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3

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Inverse Quantizer
Tnvereon DCT

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.2.5 Motion Compensation

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